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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 THE UNITED STATES OF AMERICA,

                   Plaintiff,
                                            Case No. 15-20283
       vs.                                  HON. GEORGE CARAM STEEH

 RODNEY KNIGHT (D-4),

               Defendant.
 __________________________/

                 OPINION AND ORDER DENYING
       DEFENDANT KNIGHT’S MOTION TO SUPPRESS (DOC. 251)

       Defendant Rodney Knight is charged with conspiracy to distribute and

 possess with intent to distribute controlled substances in violation of 21

 U.S.C. §§ 841(a)(1), 846, and being a felon in possession of a firearm in

 violation of 19 U.S.C. § 922(g). This matter is presently before the Court on

 Knight’s Motion to Suppress Evidence. (Doc. 251). Oral argument was held

 on November 13, 2017. For the reasons stated below, Knight’s motion is

 DENIED.

                                I. Background

       Zigmond allegedly led a prescription drug trafficking scheme, wherein

 marketers or recruiters arranged for individuals to enter Zigmond’s

 chiropractic office as patients. (Doc. 251-2 at PageID 1941-44). The
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 marketers made a cash payment of about $500.00 for each patient. (Doc.

 251-2 at PageID 1942). Zigmond referred patients to doctors participating

 in the scheme. (Doc. 251-2 at PageID 1941-42). Patients visited these

 physicians at other locations and, without an adequate examination or

 medical need, received a prescription for a controlled substance; typically

 Oxycodone or Roxicodone. (Doc. 251-2 at PageID 1941-44).

       Knight was identified as Zigmond’s “muscle;” providing protection and

 transportation. (Doc. 251-2 at PageID 1943). Zigmond’s former driver and

 “money-man,” Vladimir Zvynka, was killed during a robbery outside

 Zigmond’s office. (Id.). Knight also allegedly “often operate[d]” as

 Zigmond’s “second-in-command;” assisting in “scheduling appointments

 and accepting payments from marketers/recruiters.” (Doc. 251-2 at PageID

 1947-49).

       The Government conducted a Title III wire and electronic intercept on

 a telephone utilized by Knight between November 6, 2014 and December

 5, 2014. (Doc. 251-2 at PageID 1949). On November 18, 2014, agents

 intercepted calls between Knight and a marketer/recruiter regarding a

 request to pay for 34 doctor’s appointments. (Doc. 251-2 at PageID 1949).

 Thirty appointments, at $500 each, cost approximately $15,000. (Doc. 251-

 2 at PageID 1950). On November 19, 2014, agents observed Knight meet


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 at the location and time stated in the intercepted call. (Id.). Within the hour,

 agents stopped Knight and seized $15,000 in cash from his vehicle. (Id.).

       On April 28, 2015, the Government filed a search warrant application

 and 62 page affidavit for Knight’s home and eight other locations. (Doc.

 251-2). Based on his knowledge of the case, court authorized intercepted

 phone calls, and personal observations, the affiant, Drug Enforcement

 Administration Agent Mark Gogan, stated that Knight was a complicit

 member in Zigmond’s organization, Zigmond’s close associate, and his

 main patient marketer. (Doc. 251-2 at PageID 1960). Knight allegedly

 possessed a deep understanding and working knowledge of the day to day

 operation. (Id.). The affidavit stated that, given the $15,000 seized on

 November 19, 2014, Knight was known to carry large sums of drug

 trafficking proceeds. It also relied on information provided by two

 confidential informants to assert that Knight was “intimately involved with

 the scheduling of appointments to obtain fraudulent prescriptions.” (Id.).

       The warrant application sought to search Knight’s home “for evidence

 of his involvement in this enterprise, including evidence of his relationship

 with Zigmond and other associates; evidence of his financial transactions

 with Zigmond and his associates; evidence of firearms, ammunition or

 other weapons likely to be present to safeguard the drug proceeds carried


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 by Knight, evidence of his own financial transactions involving his

 payments and profits from the enterprise, and evidence of drugs,

 prescriptions and patient records related to the enterprise.” (Doc. 251-2 at

 PageID 1960-61). An attachment to the affidavit further clarified the

 evidence sought, including:

           All records relating to the ordering, maintenance, or dispensing
            of controlled substances;
           Documentation of all patient appointments or scheduling and
            patient sign-in sheets;
           All records related to any payments received from marketers or
            recruiters;
           All documents constituting, concerning or relating to work and
            personal diaries, calendars, logs, appointment books and
            schedules;
           All documents relating to the seizure of $15,100,
           All evidence of communication;
           All business and personal financial information relative to
            Knight;
           Computers and telephones;
           Controlled substances;
           United States currency; and
           Firearms and ammunition.

 (Doc. 251-2 at PageID 1922-24).

                               II. Legal Standard

       The Fourth Amendment guarantees “[t]he right of the people to be

 secure in their persons, houses, papers, and effects, against unreasonable

 searches and seizures,” and states that “no warrants shall issue, but upon

 probable cause, supported by oath or affirmation. . . .” U.S. CONST. amend.

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 IV. The issuing magistrate must simply “make a practical, common-sense

 decision whether, given all the circumstances set forth in the affidavit

 before him, there is a fair probability that contraband or evidence of a crime

 will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238

 (1983). The Sixth Circuit sets forth certain criteria to guide this decision.

 United States v. Williams, 544 F.3d 683, 686 (6th Cir. 2008). “First, the

 affidavit or warrant request must state a nexus between the place to be

 searched and the evidence sought.” Id. (internal quotation omitted).

 “Second, the belief that the items sought will be found at the location to be

 searched must be supported by less than prima facie proof but more than

 mere suspicion.” Id. (internal quotations omitted). The magistrate “is

 entitled to draw reasonable inferences about where evidence is likely to be

 kept, based on the nature of the crime and type of offense.” Id.

       “[T]he duty of the reviewing court is simply to ensure that the

 magistrate had a substantial basis for concluding that probable cause

 existed.” Gates, 462 U.S. at 238-39 (internal quotation marks and

 alterations omitted). A magistrate’s determination of probable cause is

 given “great deference” and reversed only “if the magistrate arbitrarily

 exercised his or her authority.” United States v. Brown, 732 F.3d 569, 573

 (6th Cir. 2013).


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                                   III. Analysis

 A. The Warrant States a Nexus Between the Place to be Searched and
 the Evidence Sought

       The Sixth Circuit analyzed the nexus requirement in United States v.

 Brown, 828 F.3d 375 (6th Cir. 2016). The court acknowledged its prior

 statement that “in the case of drug dealers, evidence is likely to be found

 where the dealers live.” Id. at 383 (quoting United States v. Jones, 159

 F.3d 969, 975 (6th Cir. 1998)). It noted that, “in some cases, we have

 permitted judges to infer a fair probability of finding evidence in a residence

 even though the affidavit did not state that such evidence had been

 observed directly.” Id. But stated that “[w]e have never held [ ] that a

 suspect’s status as a drug dealer, standing alone, gives rise to a fair

 probability that drugs will be found in his home.” Id. (quoting United States

 v. Frazier, 423 F.3d 526, 533 (6th Cir. 1998)). The Court clarified that it

 “required some reliable evidence connecting the known drug dealer’s

 ongoing criminal activity to the residence; that is . . . facts showing that the

 residence had been used in drug trafficking, such as an informant who

 observed drug deals or drug paraphernalia in or around the residence.” Id.

 The court ruled that “if the affidavit fails to include facts that directly connect

 the residence with the suspected drug dealing activity, or the evidence of

 this connection is unreliable, it cannot be inferred that drugs will be found in

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 the defendant’s home – even if the defendant is a known drug dealer.” Id.

 at 384.

       Knight relies on Brown to argue that this search was invalid because

 the affidavit failed to specify information connecting his home with the

 suspected prescription fraud ring. Knight asserts that there was no

 evidence that his home had a functioning role in the prescription fraud ring

 because his trash was not searched, agents did not observe him

 conducting deals or deliveries at this address, and no agent asserted that

 his home was used as a base. He concludes that the affidavit improperly

 relies on agents’ training and experience to infer that, because he was

 suspected of a crime, evidence would be found in his home.

       Defendant’s argument fails. Brown is distinguishable. This affidavit

 did not attempt to establish probable cause to believe Knight was

 conducting prescription drug deals at his home. Instead, it attempted to

 establish probable cause to believe that tools used in the prescription fraud

 ring, like cellphones, firearms, and scheduling records, would be found in

 Knight’s home.

       The affidavit sufficiently established a nexus between Knight’s home

 and the evidence sought. It reviewed evidence, including informant

 statements and intercepted wiretap calls, illustrating that Knight used a


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 cellphone to facilitate the alleged prescription drug trafficking offenses. The

 affiant stated that, in his experience, cellphones used in drug trafficking

 offenses contained information on customers and criminal associates and

 are often stored in locations providing frequent, ready access. It was

 reasonable to expect Knight’s phone to be with him, and for Knight to be in

 his home, when the warrant was executed at 7:50am while Knight’s car

 was observed outside his residence. The affidavit also reviewed Knight’s

 role as Zigmond’s driver and “muscle,” as well as the murder of Zigmond’s

 former driver. It is reasonable to believe, that under these circumstances,

 Knight would possess weapons and store them at his home when he was

 not working. Finally, the affidavit recounted evidence that Knight scheduled

 patient appointments and collected cash payments. “One does not need

 Supreme Court precedent to support the simple fact that records of illegal

 business activity are usually kept at either a business location or at the

 defendant’s home.” United States v. Abboud, 438 F.3d 554, 572 (6th Cir.

 2006). Knight’s home is a reasonable location for these business records

 given that intercepted cellphone calls suggest that Knight assisted in

 scheduling appointments and his work was not limited to the four walls of

 Zigmond’s office.




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 B. There is No Basis for a Franks Hearing

       “In the case of alleged material omissions – by analogy to the

 standard for included false statements - the defendant is entitled to a

 [Franks] hearing if and only if: (1) the defendant makes a substantial

 preliminary showing that the affiant engaged in deliberate falsehood or

 reckless disregard for the truth in omitting information from the affidavit,

 and (2) a finding of probable cause would not be supported by the affidavit

 if the omitted material were considered to be a part of it.” United States v.

 Fowler, 535 F.3d 408, 415 (6th Cir. 2008) (emphasis omitted).

       Defendant asserts that the affiant omitted facts that illustrate there is

 no connection between Knight’s home and the alleged criminal activity.

 These facts include:

     The $15,000 in cash seized on November 19, 2014 was to be
      delivered to Zigmond, not kept by Knight;
     Zigmond claimed ownership of this cash; and
     Agents surveilled Knight and did not report observing him move
      anything to or from his home.

       Knight’s request for a Franks hearing is denied. Knight has not made

 any preliminary showing that the affiant engaged in deliberate falsehood or

 reckless disregard for the truth. Further, this information does not constitute

 a material omission. The affidavit does not claim that Zigmond’s money

 was stored at Knight’s home. It merely states probable cause to search for

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  evidence of Knight’s own profits from the alleged enterprise. The allegedly

  omitted facts do not undermine a finding of probable cause to search

  Knight’s home for his own profits.

  C. The Exclusionary Rule Does Not Apply

       For the reasons stated above, the Court concludes that there was

  probable cause to search Knight’s home. The search was valid. As such,

  there is no poisonous tree and the exclusionary rule does not apply to

  suppress evidence found in Knight’s home or his statements.

                                     IV. Conclusion

  For the reasons stated above, defendants’ motion is DENIED.

       IT IS SO ORDERED.

  Dated: November 15, 2017

                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE


                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                    November 15, 2017, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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